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                             UNITED STATES DISTRICT COURT
                                       FOR THE
                                 DISTRICT OF VERMONT


Misty Blanchette Porter,

          Plaintiff,

          v.                                                    Civil Action No. 2:17–cv–194

Dartmouth-Hitchcock Medical Center,
Dartmouth-Hitchcock Clinic,
Mary Hitchcock Memorial Hospital, and
Dartmouth-Hitchcock Health,

          Defendants.


                                             ORDER
                                            (Doc. 197)

       This Order addresses Plaintiff’s “Motion to Unseal Exhibits 10 and 11 for Trial.” (Doc.

197.) Exhibit 10 is a June 3, 2016 email from Plaintiff to Dr. David Seifer detailing Plaintiff’s

concerns about the professional competence of Dr. Albert Hsu, a physician within the

Reproductive Endocrinology and Infertility (REI) Division at Dartmouth Hitchcock Medical

Center (DHMC). (See Doc. 140-12.) Exhibit 11 is a February 22, 2017 email from Dr. Judith

McBean to Dr. Leslie DeMars assessing Dr. David Seifer’s performance as the Director of

DHMC’s REI Division. (See Doc. 140-13.) Plaintiff filed these documents under seal in March

2020 as Exhibits to Plaintiff’s “Response in Opposition to Defendants’ Motion for Summary

Judgment” (Doc. 140). (See ECF No. 149.) Over the course of the past five years, the parties

have briefed this matter three times, and the Court has issued two orders granting Defendants’

request to seal the relevant documents. (See Doc. 173 and ECF No. 149.)
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       This case is set for trial beginning on March 24, 2025. Considering the substantial interest

in public access to information about matters of public concern—particularly in the context of

trial—against the privacy and reputational interests of the subjects of these Exhibits, the Court

finds that the balance favors unsealing Exhibit 10 and Exhibit 11 at this time.

       The presumption of public access to judicial documents is heightened at the time of trial.

See, e.g., Brown v. Maxwell, 929 F.3d 41, 50 (2d Cir. 2019) (presumption of public access higher

for “material introduced at trial”); United States v. Amodeo, 71 F.3d 1044, 1049 (2d Cir. 1995)

(“the public has an ‘especially strong’ right of access to evidence introduced in trials”); Poliquin

v. Garden Way, Inc., 989 F.2d 527, 533 (1st Cir. 1993) (noting “an abiding presumption of

access to trial records”); see also Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555, 580 n.17

(1980) (noting that “historically[,] both civil and criminal trials have been presumptively open”);

Ottati v. City of Amsterdam, 6:06-CV-1370 (NPM / DEP), 2010 WL 11570492, at *6 (N.D.N.Y.

Jan. 25, 2010) (“[T]here is a strong predisposition against trying this case in secrecy, and it is

simply a matter of time before many of the documents previously sealed in this case will see the

light of day should the case go to trial.”). As the Second Circuit has explained, “public access to

civil trials enhances the quality and safeguards the integrity of the factfinding process, fosters an

appearance of fairness, and heightens public respect for the judicial process, while permitting the

public to participate in and serve as a check upon the judicial process—an essential component

in our structure of self government.” Westmoreland v. Columbia Broad. Sys., Inc., 752 F.2d 16,

23 (2d Cir. 1984) (citations and internal quotation marks omitted)). Even where there is a risk of

parties or nonparties suffering negative publicity, “th[at] injury is the price paid for open trials.”

Poliquin, 989 F.2d at 533.




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       Where “documents directly affect an adjudication or are used to determine litigants’

substantive legal rights, the presumption of access is at its zenith and thus can be overcome only

by extraordinary circumstances.” Bernstein v. Bernstein Litowitz Berger & Grossmann LLP,

814 F.3d 132, 142 (2d Cir. 2016) (citations and internal quotation marks omitted); see Gambale

v. Deutsche Bank AG, 377 F.3d 133, 140 (2d Cir. 2004) (“[T]he presumptive right to public

observation is at its apogee when asserted with respect to documents relating to matters that

directly affect an adjudication.” (internal quotation marks omitted)).

       In this case, there has been no showing of extraordinary circumstances to justify

maintaining the sealing of Exhibits 10 and 11 at trial. The Court recognizes the interests of

Dr. Hsu and Dr. Seifer in avoiding reputational injury or embarrassment, but those interests do

not defeat the public interest in observing and assessing the functioning of the judicial system in

an open trial, particularly given that: (1) both this Court and the Second Circuit have already

considered the content of the Exhibits, and determined it to be relevant to this case, see Porter v.

Dartmouth-Hitchcock Med. Ctr., 92 F.4th 129, 134, 135, 138 (2d Cir. 2024) (referencing and/or

quoting Exhibits 10 and 11) (see also Doc. 173 at 5 (noting the Exhibits “are relevant to an

understanding of the court’s judicial decision”)); and (2) this Court has found that the case

concerns a matter of “substantial” public interest (id. at 7). See, e.g., Ottati, 2010 WL 11570492,

at *1 (in sex discrimination case, granting motion to unseal defendant’s internal investigation

report concerning plaintiff’s allegations, which had been filed in connection with cross-motions

for summary judgment). With the commencement of trial in less two weeks, the balance has

shifted in favor of open judicial proceedings regarding a matter of public interest and against the

privacy and reputational interests of nonparties Dr. Hsu and Dr. Seifer.




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       Unsealing Exhibits 10 and 11 is further justified because Plaintiff’s allegations regarding

the professional qualifications of Drs. Hsu and Seifer have been part of the public record at least

since publication of the Second Circuit decision in this case on February 6, 2024. See Porter,

92 F.4th at 134, 135, 138. “The Second Circuit and courts within it have repeatedly found sealing

improper where the relevant material was already made public.” Shetty v. SG Blocks, Inc., 20-

CV-550 (ARR) (MMH), 2021 WL 4959000, at *4 (E.D.N.Y. Oct. 26, 2021) (collecting cases));

see Milazzo v. Anthony, Civil Action No. 2:23-cv-00576-kjd, 2024 WL 1616485, at *8 (D. Vt.

Apr. 15, 2024) (“Defendant has a diminished privacy interest in many of the documents he

requests the Court to seal because the New York state court proceedings are publicly

accessible.”). As the Second Court has reasoned:

       [H]owever confidential [the information] may have been beforehand, subsequent
       to publication it was confidential no longer. It now resides on the highly accessible
       databases of Westlaw and Lexis and has apparently been disseminated prominently
       elsewhere. We simply do not have the power, even were we of the mind to use it if
       we had, to make what has thus become public private again.

Gambale, 377 F.3d at 144 (footnote omitted); see id. at 144 n.11 (“Once [information] is public,

it necessarily remains public. . . . Once the cat is out of the bag, the ball game is over.” (internal

quotation marks omitted)); Shetty, 2021 WL 4959000, at *4 (“[E]ven were I inclined to grant

plaintiff’s motion [to seal], I do not have the power to make that which was public private.”);

Lytle v. JPMorgan Chase, 810 F. Supp. 2d 616, 626 (S.D.N.Y. 2011) (“While the conduct at

issue may be potentially embarrassing to the[] [nonparty] employees (and JPMC) and may

negatively impact their career prospects, any injury the employees may suffer by release of the

information is insufficient to rebut the strong presumption of access to the information at issue

here[,]. . . particularly . . . because [the] complaint and attached exhibits already name each of the




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parties whose conduct JPMC investigated . . . [and] [t]hus, their names are already in the public

record, and have been for several years.” (emphasis added)).

        The February 2024 Second Circuit decision makes numerous references to the content of

Exhibits 10 and 11, including allegations of substandard and unethical conduct by Dr. Seifer and

Dr. Hsu, respectively. That decision has been available to the public for over a year. Moreover,

there have been at least several media reports discussing the subject matter of Exhibits 10 and

11. Given these publications, Defendants’ principal argument for keeping Exhibits 10 and 11

under seal—to prevent damage to the professional reputations of non-parties Dr. Seifer and

Dr. Hsu, who are no longer associated with Dartmouth-Hitchcock Medical Center—is

insufficient to justify continued sealing.

        For these reasons, the Court GRANTS Plaintiff’s “Motion to Unseal Exhibits 10 & 11 for

Trial.” (Doc. 197.) The Clerk of Court is directed to unseal Exhibit 10 (Doc. 140-12) and Exhibit

11 (Doc. 140-13) at this time. The Clerk of Court is further directed to unseal Document 140 and

all of its attached documents (Docs. 140-1 through 140-24).1

        Dated at Burlington, in the District of Vermont, this 13th day of March 2025.


                                                              /s/ Kevin J. Doyle                          .
                                                              United States Magistrate Judge




        1
           Currently sealed on the docket are Plaintiff’s “Response in Opposition to Defendants’ Motion for
Summary Judgment” (Doc. 140) and all of its attached documents (Docs. 140-1 through 140-24), with the exception
of Exhibits 17 and 18 (Docs. 140-19 and 140-20), which were unsealed by Court order on June 2, 2020 (see ECF
No. 149). It is unclear why Doc. 140 and its associated attachments, with the exception of Exhibits 10 and 11 (Docs.
140-12 and 140-13), which are the subject of this Order, remain sealed. By this Order, Doc. 140 and all of its
attachments shall be unsealed.


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